Case 18-09130   Doc 338-2   Filed 01/09/19 Entered 01/09/19 13:43:36   Desc Exhibit
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                   EXHIBIT B
       Case 18-09130     Doc 338-2    Filed 01/09/19 Entered 01/09/19 13:43:36         Desc Exhibit
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Paloian, Gus

From:                        Paloian, Gus
Sent:                        Tuesday, December 18, 2018 12:28 PM
To:                          'ernestoborges@aol.com'
Cc:                          Robert Kowalksi; 'Jan Kowalski'
Subject:                     Possession of Premises located at 1918 W Cermak, Unit 1


Demand is hereby made to turnover no later than January 8, 2019, possession of the premises located at
1918 W. Cermak, Unit 1, Chicago Illinois (the “Premises”). Have all copies of the keys for the Premises
delivered to Two Blue Property Management c/o Baker Thompson at 1000 N. Milwaukee, Unit 201, Chicago ,
Illinois 60642.




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